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 6     Telephone: (415) 510-3776
       Fax: (415) 703-1234
 7     E-mail: Peter.Chang@doj.ca.gov
     Attorneys for Defendants Gavin Newsom, in
 8   his official capacity as Governor and Sonia Y.
     Angell, in her official capacity as
 9   California Public Health Officer
10                    IN THE UNITED STATES DISTRICT COURT
11                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     ADAM BRANDY; ET AL.,                        2:20-cv-02874-AB-AK
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16                         Plaintiffs, DECLARATION OF PETER H.
                                       CHANG IN SUPPORT OF STATE
17            v.                       DEFENDANTS’ OPPOSITION TO
18                                     PLAINTIFFS’ EX PARTE
                                       APPLICATION FOR A
19                                     TEMPORARY RESTRAINING
20   ALEX VILLANUEVA; ET AL.,          ORDER AND ORDER TO SHOW
                                       CAUSE
21                       Defendants.
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                Chang Decl. ISO State Defs.’ Opp. to ex parte TRO. App. (2:20-cv-02874-AB-AK)
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 1                       DECLARATION OF PETER H. CHANG
 2          I, Peter H. Chang, declare:
 3          1.   I am a Deputy Attorney General at the Office of the California
 4   Attorney General. I serve as counsel to State Defendants the California Governor
 5   and the California Public Health Officer in the above-captioned matter.
 6          2.   I make this declaration of my own personal knowledge and experience
 7   and, if called as a witness, I could and would testify competently to the truth of the
 8   matters set forth herein.
 9          3.   Attached as exhibit 1 is a true and correct copy of Governor Newsom’s
10   Proclamation declaring a State of Emergency. The proclamation is also available
11   at https://www.gov.ca.gov/wp-content/uploads/2020/03/3.4.20-Coronavirus-SOE-
12   Proclamation.pdf.
13          4.   Attached as exhibit 2 is a true and correct copy of Governor Newsom’s
14   March 4, 2020 press release titled “Governor Newsom Declares State of
15   Emergency to Help State Prepare for Broader Spread of COVID-19.” The press
16   release is also available at https://www.gov.ca.gov/2020/03/04/governor-newsom-
17   declares-state-of-emergency-to-help-state-prepare-for-broader-spread-of-covid-
18   19/.
19          5.   Attached as exhibit 3 is a true and correct copy of Executive Order N-
20   33-20. A copy of Executive Order N-33-20 is also available at
21   https://www.gov.ca.gov/wp-content/uploads/2020/03/3.19.20-attested-EO-N-33-
22   20-COVID-19-HEALTH-ORDER.pdf.
23          6.   Attached as exhibit 4 is a true and correct copy of the State Public
24   Health Officer’s designation of “Essential Critical Infrastructure Workers”
25   published on March 22, 2020. A copy of the list is also available at
26   https://covid19.ca.gov/img/EssentialCriticalInfrastructureWorkers.pdf.
27          7.   Attached as exhibit 5 is a true and correct copy of the March 28, 2020
28   Advisory Memorandum on Identification of Essential Critical Infrastructure
                                                  1
                 Chang Decl. ISO State Defs.’ Opp. to ex parte TRO. App. (2:20-cv-02874-AB-AK)
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 1   Workers During COVID-19 Response by Christopher C. Krebs, Director of the
 2   Cybersecurity and Infrastructure Security Agency. A copy of the memorandum is
 3   also available at
 4   https://www.cisa.gov/sites/default/files/publications/CISA_Guidance_on_the_Esse
 5   ntial_Critical_Infrastructure_Workforce_Version_2.0_Updated.pdf.
 6         8.    Attached as exhibit 6 is a true and correct copy of a March 30, 2020
 7   post made by Los Angeles County Sheriff Alex Villanueva to his Twitter account.
 8   The Twitter post is available at
 9   https://twitter.com/LACoSheriff/status/1244812862175903744.
10
          I declare under penalty of perjury that the foregoing is true and correct
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13   Executed on April 3, 2020                      /s/ Peter H. Chang
14                                                  PETER H. CHANG
                                                    Deputy Attorney General
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                 Chang Decl. ISO State Defs.’ Opp. to ex parte TRO. App. (2:20-cv-02874-AB-AK)
